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                                EXHIBIT A
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                                                LICENSE No. VENEZUELA-EO13850-2019-363328-2

                                 VENEZUELA SANCTIONS REGULATIONS

                                               LICENSE RENEWAL

         Granted under the authority of one or more of 50 U.S.C. §§ 1601-51, 1701-06, Pub. L. 113-278,
       Executive Orders 13692, 13808, 13827, 13835, 13850, 13857, 13884, and 31 C.F.R. Parts 501 and 591.

To:          Refineria di Korsou N.V.
             c/o Gibson, Dunn & Crutcher LLP
             1050 Connecticut Avenue, N.W.
             Washington, DC 20036
Attn:        Adam M. Smith

1. Based upon the request dated October 12, 2020, on behalf of Refineria di Korsou N.V., to the Office of
Foreign Assets Control (the “Application”), the transactions described herein are hereby authorized. This
License supersedes VENEZUELA-EO13850-2019-363328-1 in all aspects.

2. This License is subject to the condition, among others, that the Licensee(s) comply with its terms and
with all regulations, rulings, orders, and instructions issued under any of the authorities cited above.

3. This License expires on the earlier of the completion of the authorized transaction(s) or December
31, 2021, and is not transferable. The transactions described in this License are subject to the authorities
cited above and any regulations and rulings issued pursuant thereto. This License may be revoked or
modified at any time. If this License was issued as a result of willful misrepresentation it may be declared
void from the date of its issuance or from any other date.

4. This License does not authorize transactions prohibited by any law or regulation administered by the
Office of Foreign Assets Control other than those listed above.

5. This License does not excuse the Licensee(s) from the need to comply with any law or regulation
(including reporting requirements) administered by any other agency or the need to obtain any required
authorization(s) from any other agency.

             Issued on behalf of the Secretary of the Treasury:

                                              OFFICE OF FOREIGN ASSETS CONTROL



                                               By_____________________________ December 30, 2020
                                                   Mary Patricia Rasmussen                 Date
                                                   Deputy Assistant Director for Licensing


      Attention is directed to, inter alia, 18 U.S.C. § 1001, 50 U.S.C. § 1705, and Pub. L. 113-278, § 5(b)(2)
                                         for provisions relating to penalties.
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LICENSE No. VENEZUELA-EO13850-2019-363328-2                                                  Page 2 of 2

SECTION I – AUTHORIZATION: Subject to the conditions and limitations stated herein, U.S. persons
(the “Licensees”) are hereby authorized to engage in all transactions and activities ordinarily incident and
necessary to the settlement of claims by Refineria di Korsou N.V. (RDK) and other Curaçao-based
creditors of Petroleos de Venezuela, S.A. (PDVSA) and its designees, Refineria Isla (Curazao) S.A. and
Refineria Isla Curaçao B.V. (collectively, “Isla”), arising from PDVSA and Isla’s operation of Curaçao’s
oil refinery and terminal, and the wind-down of activities by RDK involving PDVSA or Isla arising from
PDVSA and Isla’s operation of Curaçao’s oil refinery and terminal, including but not limited to the
provision of financial services and the shipment, storage, handling, and sale of Venezuelan-origin
petroleum and petroleum products, as described in the Application.

SECTION II – CONDITIONS: (a) The authorization in SECTION I does not authorize any payments
or transfers of funds to or for the benefit of PDVSA or Isla.

(b) The authorization in SECTION I does not authorize payment in the form of Venezuelan-origin
petroleum and petroleum products that are not already located on the island.

SECTION III – WARNINGS: (a) Except as authorized in SECTION I, above, this License does not
authorize the transfer of any blocked property, the debiting of any blocked account, the entry of any
judgment or order that effects a transfer of blocked property, or the execution of any judgment against
property blocked pursuant to any Executive order or Chapter V of Title 31 of the C.F.R.

(b) Except as authorized in SECTION I, above, this License does not authorize the transfer to or receipt
of funds or other property, directly or indirectly, from any entity or individual whose property or interests
in property are blocked pursuant to any Executive order or Chapter V of Title 31 of the C.F.R.

(c) Any transfer of funds through the U.S. financial system pursuant to the authorization set forth above
should reference the number of this License to avoid the rejection of the transfer.

SECTION IV – RECORDKEEPING & REPORTING REQUIREMENTS: (a) The Licensees are
subject to the recordkeeping and reporting requirements of, inter alia, 31 C.F.R. §§ 501.601 and 501.602,
including the requirement to maintain full and accurate records concerning the transactions undertaken
pursuant to this License for a period of five years from the date of each transaction.

(b) No later than January 15, 2021, and every 30 days thereafter, RDK must submit a detailed report of
all transactions engaged in pursuant to this License. The first report should describe the activities and
transactions related to the winding down of dealings with PDVSA and Isla, as well as the cessation of
PDVSA and Isla’s roles as the operators of the oil refinery and terminal in Curacao.

(c) The reports required by SECTION IV(b) are to be mailed to: Ofacreports@treasury.gov or Sanctions
Compliance & Evaluation Division, Office of Foreign Assets Control, U.S. Department of the Treasury,
1500 Pennsylvania Avenue, N.W., Freedman’s Bank Building, Washington, D.C., 20220, and refer to this
case no: License No. VENEZUELA-EO13850-2019-363328-2.

SECTION V – PRECEDENTIAL EFFECT: The authorization contained in this License is limited to
the facts and circumstances specific to the Application.
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                                                  LICENSE No. VENEZUELA-EO13850-2019-363328-3

                                  VENEZUELA SANCTIONS REGULATIONS

                                                LICENSE EXTENSION

    Issued under the authority of one or more of 50 U.S.C. §§ 1601-51, 1701-06, Pub. L. 113-278, Executive Orders
                  13692, 13808, 13827, 13835, 13850, 13857, 13884, and 31 C.F.R. Parts 501 and 591.

   To:   Refineria di Korsou N.V.
         c/o Gibson, Dunn & Crutcher LLP
         1050 Connecticut Avenue, N.W.
         Washington, DC 20036
   Attn: Adam M. Smith, Esq.

1. Based upon the request dated November 18, 2021, on behalf of Refineria di Korsou N.V., to the Office
of Foreign Assets Control (the “Application”), the transactions described herein are hereby authorized.
This License supersedes and replaces License No. Venezuela-EO13850-2019-363328-2 in all respects.

2. This License is subject to the condition, among others, that the Licensee(s) comply with its terms and
with all regulations, rulings, orders, and instructions issued under any of the authorities cited above.

3. This License expires on the earlier of the completion of the authorized transaction(s) or December
31, 2022, and is not transferable. The transactions described in this License are subject to the authorities
cited above and any regulations and rulings issued pursuant thereto. This License may be revoked or
modified at any time. If this License was issued as a result of willful misrepresentation it may be declared
void from the date of its issuance or from any other date.

4. This License does not authorize transactions prohibited by any law or regulation administered by the
Office of Foreign Assets Control other than those listed above.

5. This License does not excuse the Licensee(s) from the need to comply with any law or regulation
(including reporting requirements) administered by any other agency or the need to obtain any required
authorization(s) from any other agency.

            Issued on behalf of the Secretary of the Treasury:

                                                  OFFICE OF FOREIGN ASSETS CONTROL

                                                                                                    December 30, 2021

                                                 By_________________________________ ___________
                                                     Aydin M. Akgün                Date
                                                     Chief, Licensing Division


       Attention is directed to, inter alia, 18 U.S.C. § 1001, 50 U.S.C. § 1705, and Pub. L. 113-278, § 5(b)(2) for
                                              provisions relating to penalties.
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LICENSE No. VENEZUELA-EO13850-2019-3363328-3                                                 Page 2 of 2


SECTION I – AUTHORIZATION: Subject to the conditions and limitations stated herein, U.S. persons
(the “Licensees”) are hereby authorized to engage in all transactions and activities ordinarily incident and
necessary to the settlement of claims by Refineria di Korsou N.V. (RDK) and other Curaçao-based
creditors of Petroleos de Venezuela, S.A. (PDVSA) and its designees, Refineria Isla (Curazao) S.A. and
Refineria Isla Curaçao B.V. (collectively, “Isla”), arising from PDVSA and Isla’s operation of Curaçao’s
oil refinery and terminal, and the wind-down of activities by RDK involving PDVSA or Isla arising from
PDVSA and Isla’s operation of Curaçao’s oil refinery and terminal, including but not limited to the
provision of financial services and the shipment, storage, handling, and sale of Venezuelan-origin
petroleum and petroleum products, as described in the Application.

SECTION II – CONDITIONS: (a) The authorization in SECTION I does not authorize any payments
or transfers of funds to or for the benefit of PDVSA or Isla.

(b) The authorization in SECTION I does not authorize payment in the form of Venezuelan-origin
petroleum and petroleum products that are not already located on the island.

SECTION III – WARNINGS: (a) Except as authorized in SECTION I, above, this License does not
authorize the transfer of any blocked property, the debiting of any blocked account, the entry of any
judgment or order that effects a transfer of blocked property, or the execution of any judgment against
property blocked pursuant to any Executive order or Chapter V of Title 31 of the C.F.R.

(b) Except as authorized in SECTION I, above, this License does not authorize the transfer to or receipt
of funds or other property, directly or indirectly, from any entity or individual whose property or interests
in property are blocked pursuant to any Executive order or Chapter V of Title 31 of the C.F.R.

(c) Any transfer of funds through the U.S. financial system pursuant to the authorization set forth above
should reference the number of this License to avoid the blocking or rejection of the transfer.

SECTION IV – RECORDKEEPING & REPORTING REQUIREMENTS: (a) The Licensees are
subject to the recordkeeping and reporting requirements of, inter alia, 31 C.F.R. §§ 501.601 and 501.602,
including the requirement to maintain full and accurate records concerning the transactions undertaken
pursuant to this License for a period of five years from the date of each transaction.

(b) No later than January 15, 2022, and every 30 days thereafter, RDK must submit a detailed report of
all transactions engaged in pursuant to this License. The first report should describe the activities and
transactions related to the winding down of dealings with PDVSA and Isla, as well as the cessation of
PDVSA and Isla’s roles as the operators of the oil refinery and terminal in Curacao.

(c) The reports required by SECTION IV(b) are to be mailed to: Ofacreports@treasury.gov or Sanctions
Compliance & Evaluation Division, Office of Foreign Assets Control, U.S. Department of the Treasury,
1500 Pennsylvania Avenue, N.W., Freedman’s Bank Building, Washington, D.C., 20220, and refer to this
case no: License No. VENEZUELA-EO13850-2019-363328-3.

SECTION IV – PRECEDENTIAL EFFECT: The authorization contained in this License is limited to
the facts and circumstances specific to the Application.
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                                                            LICENSE No. VENEZUELA-EO13850-2019-363328-4

                                      VENEZUELA SANCTIONS REGULATIONS

                                                     LICENSE EXTENSION

   Issued under the authority of one or more of 50 U.S.C. §§ 1601-51, 1701-06, Pub. L. 113-278, Executive Orders 13692,
                       13808, 13827, 13835, 13850, 13857, 13884, and 31 C.F.R. Parts 501 and 591.

   To:   Refineria di Korsou N.V.
         c/o Gibson, Dunn & Crutcher LLP
         1050 Connecticut Avenue, N.W.
         Washington, DC 20036
   Attn: Adam M. Smith, Esq.

1. Based upon the request dated December 1, 2022, on behalf of Refineria di Korsou N.V., and information
otherwise available to the Office of Foreign Assets Control (the “Application”), the transactions described herein
are hereby authorized.

2. This License is subject to the condition, among others, that the Licensee(s) comply with its terms and with all
regulations, rulings, orders, and instructions issued under any of the authorities cited above.

3. This License expires on the earlier of the completion of the authorized transaction(s) or December 31,
2023, and is not transferable. The transactions described in this License are subject to the authorities cited above
and any regulations and rulings issued pursuant thereto. This License may be revoked or modified at any time.
If this License was issued as a result of willful misrepresentation it may be declared void from the date of its
issuance or from any other date.

4. This License does not authorize transactions prohibited by any law or regulation administered by the Office
of Foreign Assets Control other than those listed above.

5. This License does not excuse the Licensee(s) from the need to comply with any law or regulation (including
reporting requirements) administered by any other agency or the need to obtain any required authorization(s)
from any other agency.

           Issued on behalf of the Secretary of the Treasury:

                                                        OFFICE OF FOREIGN ASSETS CONTROL
                                                                                                                   December 30, 2022


                                                       By_________________________________ ___________
                                                         Aydin M. Akgün                     Date
                                                         Chief, Licensing Division


                Attention is directed to, inter alia, 18 U.S.C. § 1001, 50 U.S.C. § 1705, and Pub. L. 113-278, § 5(b)(2)
                                                   for provisions relating to penalties.
   Case 1:17-mc-00151-LPS Document 609-1 Filed 06/14/23 Page 9 of 9 PageID #: 15382
LICENSE No. VENEZUELA-EO13850-2019-3363328-4                             Page 2 of 2

SECTION I – AUTHORIZATION: Subject to the conditions and limitations stated herein, U.S. persons (the
“Licensees”) are hereby authorized to engage in all transactions and activities ordinarily incident and necessary
to the settlement of claims by Refineria di Korsou N.V. (RDK) and other Curaçao-based creditors of Petróleos
de Venezuela, S.A. (PdVSA) and its designees, Refineria Isla (Curazao) S.A. and Refineria Isla Curaçao B.V.
(collectively, “Isla”), arising from PdVSA and Isla’s operation of Curaçao’s oil refinery and terminal, and the
wind-down of activities by RDK involving PdVSA or Isla arising from PdVSA and Isla’s operation of Curaçao’s
oil refinery and terminal, including but not limited to the provision of financial services and the shipment,
storage, handling, and sale of Venezuelan-origin petroleum and petroleum products, as described in the
Application.

SECTION II – CONDITIONS: (a) The authorization in SECTION I does not authorize any payments or
transfers of funds to or for the benefit of PdVSA or Isla.

(b) The authorization in SECTION I does not authorize payment in the form of Venezuelan-origin petroleum
and petroleum products that are not already located on the island as of December 30, 2020.

SECTION III – WARNINGS: (a) Except as authorized in SECTION I, this License does not authorize the
transfer of any blocked property, the debiting of any blocked account, the entry of any judgment or order that
effects a transfer of blocked property, or the execution of any judgment against property blocked pursuant to
any Executive order or Chapter V of Title 31 of the C.F.R.

(b) Except as authorized in SECTION I, this License does not authorize the transfer to or receipt of funds or
other property, directly or indirectly, from any entity or individual whose property or interests in property are
blocked pursuant to any Executive order or Chapter V of Title 31 of the C.F.R.

(c) Any transfer of funds through the U.S. financial system pursuant to the authorization set forth above should
reference the number of this License to avoid the blocking or rejection of the transfer.

SECTION IV – RECORDKEEPING & REPORTING REQUIREMENTS: (a) The Licensees are subject
to the recordkeeping and reporting requirements of, inter alia, 31 C.F.R. §§ 501.601 and 501.602, including the
requirement to maintain full and accurate records concerning the transactions undertaken pursuant to this
License for a period of five years from the date of each transaction.

(b) No later than January 15, 2023, and every 30 days thereafter, RDK must submit a detailed report of all
transactions engaged in pursuant to this License. The first report should describe the activities and transactions
related to the winding down of dealings with PdVSA and Isla, as well as the cessation of PdVSA and Isla’s roles
as the operators of the oil refinery and terminal in Curacao.

(c) The reports required by SECTION IV(b) are to be mailed to: Ofacreport@treasury.gov or Sanctions
Compliance & Evaluation Division, Office of Foreign Assets Control, U.S. Department of the Treasury, 1500
Pennsylvania Avenue, N.W., Freedman’s Bank Building, Washington, D.C., 20220, and refer to this case
number: License No. VENEZUELA-EO13850-2019-363328-4.

SECTION V – PRECEDENTIAL EFFECT: The authorization contained in this License is limited to the
facts and circumstances specific to the Application.
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